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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTH£RN DISTRICT OF OHIO
                                WESTERN DIVISION                                      .,
                                                                                      ,,
                                                                                           -,
                                                                                             ,




                                                                '.   ,
   UNITED STATES OF AMERICA,                                                      .,. ,; I


                            Plaintiff
                v.                                   CR-1·97·64
    JAMES L. WRIGHT,
                            Defendant
                     CORRECTED JUOOMEN'I' AND COMMITMENT ORDER

                           WITH SENTENCING MEMORANDUM

       The defendant appeared with counsel, Patrick J. Hanley, Esq.,
  before thia Court for sentencing on July 30, 1999.     A clerical
  error appearing in the Order filed at the conclusion of the
  sentencing hearing is hereby corrected to reflect the sentence
  imposed during the sentencing hearing on that date.
       The defendant has entered a plea of GUILTY to Count One of the
  Indictment. Accordingly, the defendant is adjudged GUILTY of:

  COUNT ONE, ATTBMPTING TO EVADS INCOME TAXSs in violation of Title
  26, Section 7201 of the United States Code, a Class D Felony.
       ~ursuant to Title 18 U.S.C,    § 3553,  the Court makes the
  following findings of relevant facts significant to the imposition
  of sentence.
       Defendant is guilty of violating Title 26 U.S.C. § 7201 which
  subjects defendant to a sentence of imprisonment of five years, a
  fine of $250,000.00, a $50,00 special assessment, and supervised
  release; however, United States Sentencing Guidelines §§ 2T1.1 and
  2T4.1 control the determination of the sentence in this case.
       The offense concluded on February 9, 1993.      The defendant
  entered a plea of guilty on september 17, 1998. The provisions of
  the Antiterrorism and Effective Death penalty Act of 1996 do not
  apply because the commission of the offense occurred prior to April
  24, 1996.

       The Addendum to the presentence report discloses that no
  unresolved objections remain for ruling by this Court, however, the
  defendant disputes the tax loss and the United States urges a
  maximum sentence.
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        The Court adopts the findings of fact in the presentence
   report as amended on the record.        The Court finds that the
   reasonable tax loss for the purposes of sentencing, is more than
   $13,500.00 and less than $23,500.00, specifically finding that a
   base offense level of 11 is appropriate based upon the tax table
   contained in U.S.S.G. 214.1 and the corresponding tax loss and that
   the defendant qualifies for a reduction of 2 points for acceptance
   of responsibility.
        The proper application of the guidelines establishes 9 as the
   total offense level, I as the criminal history category, and 4 to
   10 month~ as the sentencing range.
         The plea agreement does not prOVide for any sentence.
        The Court recogni~es that it has the authority to depart
   upward or downward from the guideline range established in this
   order and to sentence the defendant to any sentence under the
   statutory maximum.
        pursuant to § 591.1, a sentence of probation is authorized
   because the minimum of the sentencing level is 4 months.
        Pursuant to § 5D1.2, a term of supervised release of two to
   three years is applicable.
        Pursuant to § SC1. 1, the minimum term of the range may be
  satisfied by 1) a sentence of imprisonment; or 2) a sentence of
  imprisonment that includes a. term of superVised release with a
  condition that substitutes community confinement or home detention
  provided that at least one month is satisfied by imprisonment; or
  3) a sentence of proba.tion that includes a condition or combination
  of oonditions that substitute intermittent confinement, community
  confinement, or home detention for imprisonment.
       Pursuant to § 5El.2, the greater minimum fine in this case is
  $1,000.00 and the greatest maximum fine is $10,000,00. Pursuant to
  § SE1.2(i), an additional fine amount of $1,826.99/month to pay the
  costs to the Government of any imprisonment, $1,326.78/month for
  offenders in halfway houses, and $:253.:29/month to pay the costs to
  the Government of supervised release would be appropriate.       The
  daily cost of electronic monitoring is $4.55.         Pursuant to §
  5El.2(f), the Court finds that the defendant is not able to pay
  even the minimum of the fine required and pay restitution.
  Accordingly, the fine is waived and restitution shall be ordered.
       Pursuant to         §   SE1.3. a special assessment of $50.00 shall be
  ordered.
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         Based upon the record in this case, including the information
   contained in the Presentence Report, the Court accepts the Rule
   ll(e) (1) (A) charge agreement, specifically finding that the
   agreement adequately reflects the seriousness of the actual offense
   behavior and that accepting the plea agreement will not undermine
   the statutory purposes of sentencing.
        In accordance with 18 U.S.C. § 3553(c) (1), the Court is not
   required to state a reason for imposing a sentence at a particular
   point within the range because the range in this case does not
   exceed 24 months.
   The defendant is sentenced as provided in pages 1 through 6 of this
   JUdgment pursuant to the Sentencing Reform Act of 1984 as follows:
   The defendant is hereby PLACED ON PROBATION for a term of FIVE (5)
   YEARS under the following conditions:

                (1) the defendant shall not commit another
                Federal, state or local crime;
                (2)   the  defendant is prohibited from
                possessing a firearm or other dangerous
                weapon;
                (3) the defendant shall participate in the
               Home Confinement program for a period of 120
               days.   During this time, the defendant will
               remain at his place of residence except for
               employment and other activities approved in
               advance by his Probation Officer.           The
               defendant wi 11 be subj ect to the standard
               conditions of Home Confinement adopted by ~he
               Southern District of Ohio, which may include
               the   requirement   to   wear an     alec~ronic
               monitoring device and to follow electronic
               monitoring   procedures    specified   by   the
               Probation Officer.     Further, the defendant
               shall be required to pay for the daily cost of
               electronic monitoring services. A percentage
               of this payment may be waived based on the
               Probation    Officer's   evaluation    of   the
               defendant's financial condition;
               (4) the defendant shall cooperate with the IRS
               in the payment of any and all delinquent taxes
               and ;tn the determination of his civil tax
               liability and payment thereof;
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                 (5)  the defendant shall refrain from              the
                ~nlawful  use of controlled substances              and
                submit to one drug teet within lS days               of
                being placed on Frobation, and at least             two
                other periodic drug tests thereafter                 as
                determined by the Frobation Officer;
                (6)   the defendant ehall verify his transfer
                of one firearm in his residence to individuals
                outside of his residence; and

                (7)    the defendant shall make installment
                payments on any unpaid balance of the
                restitution owed at the direction of the
                Probation Officer.

   THE DEFENDANT IS FURTHER ORDERED TO ABIDE ElY THE FOLLOWING STANDAlm
   CONDITIONS OF PROBATION/SUFBRVISBD RBLEASB FOR THE SOUTHERN
   DISTRICT OF OHIO;

         (1) the defendant shall not leave the jUdicial district
         without permission of the court or probation officer;
         (2) the defendant shall report to the probation Officer as
         directed by the court or probation officer and shall submit a
         truthful and complete written report within the first five
         days of each month;
         (3) the defendant shall answer tr~thfully all inqUiries by the
         probation officer and follow the instructions of the probation
         officer;
         (4) the defendant shall support his or her dependents and
         meet other family responsibilities;
         (5) the defendant shall work regularly at a lawful occupation
         unless excused by the probation officer for schooling,
         training, or other acceptable reasons;
         (6) the defendant shall notify the probation officer within
         seventy-two hours of any change in residence or employment;
         (7) the defendant shall refrain from the excessive use of
         alcohol and shall not purchase, possess, use, distribute or
         administer any narcotic or other controlled substance, or any
         paraphernalia related to such substances, except as prescribed
         by a physician;
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          (8) the defendant shall not frequent places where controlled
          sublitances are illegally sold,      used,  distributed or
          administered;
         (9) the defendant shall not associate with any person
         convicted of a felony unless granted permission to do so
         by the probation officer;
         (10) the defendant shall permit a probation officer to
         visit him/her at any time at home or elsewhere and shall
         permit confiscation of any contraband observed in plain
         view by the probation officer;
         (11) the defendant shall notify the probation officer
         within seventy-two hours of being arrested or questioned
         by a law enforCement officer;
         (12) the defendant shall not enter into any agreement to
         act as an informer or a special agent of a law
         enforcement agency without the permission of the court;
          (13) the defendant shall notify third parties of risks
         that may be occasioned by the defendant's criminal record
         or personal history or characteristics, and shall permit
         the probation officer to make such notifications and to
         confirm the defendant's compliance with such notification
         requirement.
  I t is ordered that the defendant shall pay RESTITUTION IN TBE
  AMOUNT OF TAXES DETERMINED BY THE INTERNAL REVENUE SERVICE TO BE
  OWING AND A SPBCIAL ASSIilSSHBNT of $50.00.   Both shall be due
   immediately.
       Both parties are notified by this Court that each of you have
  a right to appeal this sentence and if you are unable to pay the
  cost of an appeal, you have the right to apply to this Court for
  leave to proceed in forma pauperis. If you are indigent and cannot
  retain a lawyer, you may apply and one will be appointed to
  represent you on your appeal.
       You are further advised that, in accordance with the
  provisions of Rule 4(b) of the Rules of Appellate Procedure, you
  must file your notice of appeal with the Clerk of the United States
  District Court within 10 days of the filing of judgment which will
  be filed an July 30, 1999. Ten days from the filing of judgm&nt
  will be August 9, 1999.
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        The Court does hereby advise you that if you so request, the
   Clerk of this Court will prepare and file forthwith a notice of
   appeal on your behalf. It is further ordered that the defendant
   shall notify the United States Attorney for the Southern District
   of Ohio within 30 days of any change in residence or mailing
   address until all fines, restitution, costa and special assessments
   imposed by this jUdgment are fully paid.
           IT IS SO ORDERED.



                                          Un                           Judge



   Certified as a true copy on
   this date
   By:
          Deputy Clerk
                                       Rli:TURN
   I   have executed this Judgment as follows:




   -------------------------------------
   delivered on       __ to        _
                                         Defendant


                                  at                                           with a
   certified coPy of this Judgment,

                                          United States Marshal

                                          By._ _~_~~---------
                                          Deputy Marshal
